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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



FEDERAL TRADE COMMISSION,

              Plaintiff,

         v.                                Case No.: 1:21-cv-217-RCL

ENDO PHARMACEUTICALS INC., et al.,

              Defendants.




 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SPECIALLY
APPEARING DEFENDANT ENDO INTERNATIONAL PLC’S MOTION TO DISMISS
    COMPLAINT FOR LACK OF PERSONAL JURISDICTION OR, IN THE
           ALTERNATIVE, FOR FAILURE TO STATE A CLAIM
              UPON WHICH RELIEF CAN BE GRANTED
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       Specially Appearing Defendant Endo International plc (“Endo International”) submits this

memorandum of points and authorities in support of its motion to dismiss the Complaint for

Injunctive and Other Equitable Relief (“Complaint”) for lack of personal jurisdiction under Rule

12(b)(2) or, in the alternative, for failure to state a claim under Rule 12(b)(6) of the Federal Rules

of Civil Procedure.

                                        INTRODUCTION

       Endo International has nothing to do with this case, and the Plaintiff Federal Trade

Commission (“FTC”) alleges no facts to support its claims against Endo International. Endo

International is named as a Defendant solely because one of its indirect subsidiaries, Endo

Pharmaceuticals Inc. (“Endo Pharmaceuticals”), is alleged to have engaged in the conduct

underlying the FTC’s claims. Under settled law, that fact alone does not give the Court personal

jurisdiction over a nonresident defendant such as Endo International. Moreover, the Complaint is

devoid of factual allegations showing that Endo International had the required minimum contacts

with the United States or related to this lawsuit that could justify subjecting Endo International to

personal jurisdiction.1

       The FTC challenges a 2017 agreement between Defendants Endo Pharmaceuticals and

Impax Laboratories, LLC (“Impax”) that settled a breach of contract lawsuit between Endo

Pharmaceuticals and Impax related to the royalty Impax would pay under a license to certain

pharmaceutical patents owned by Endo Pharmaceuticals (the “2017 Contract Settlement

Agreement”). Endo International, a foreign holding company organized and headquartered in



1
        Endo International recognizes that because 15 U.S.C. § 53(b) authorizes nationwide service
of process, and because venue as to Endo International is appropriate under 28 U.S.C. § 1391(c)(3),
the relevant “contacts” for due process purposes are Endo International’s contacts with the United
States as a whole. See F.T.C. v. Mallett, 818 F. Supp. 2d 142, 147 (D.D.C. 2011).

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Ireland, was not a party to the 2017 Contract Settlement Agreement, was not a party to the

underlying litigation resolved by that agreement, and does not own any of the relevant patents. It

does not engage in operations involving the development, regulatory approval, manufacture,

distribution, sales, launch, or marketing of the prescription medication at issue in this lawsuit. And

it is neither incorporated nor headquartered in the United States.

          Endo International’s position as Endo Pharmaceuticals’ indirect parent company is

insufficient as a matter of law to confer personal jurisdiction over Endo International. The FTC

has failed to allege facts plausibly showing that Endo Pharmaceuticals is the agent of Endo

International, or that Endo International so dominated Endo Pharmaceuticals such that adherence

to the corporate form would sanction a fraud or promote injustice. Endo International has no direct

control over Endo Pharmaceuticals’ day-to-day activities related to the regulatory approval,

manufacture, distribution, sales, launch, or marketing of prescription medications in the United

States.

          In sum, the complete absence of a connection between Endo International and any of the

allegedly anticompetitive conduct challenged in the Complaint, or the United States generally,

violates traditional notions of fair play and substantial justice, and the exercise of personal

jurisdiction over Endo International would be unconstitutional under the Due Process Clause of

the United States Constitution. Endo International should be dismissed from this action for this

reason alone.

          In the alternative, the Complaint should be dismissed against Endo International for failure

to state a claim under Federal Rule 12(b)(6) for the reasons set forth in Endo Pharmaceuticals’

Motion to Dismiss and supporting Memorandum of Law, Dkt. 51, which Endo International joins

in and incorporates by reference. Further, the Complaint is deficient as to Endo International



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because it pleads no facts plausibly suggesting that Endo International participated—either directly

or indirectly—in the alleged conduct that forms the basis for the FTC’s lawsuit.

                                        BACKGROUND

       Endo International is an Irish holding company headquartered in Dublin, Ireland, and the

indirect parent company of Endo Pharmaceuticals. See Compl. ¶ 14. It was not a party to the 2017

Contract Settlement Agreement. See 2017 Contract Settlement Agreement, ENDO 2019 OPANA

CID 00010309, at -309, 313, 315 (identifying the party to the agreement, the party to be noticed,

and the signatory as “Endo Pharmaceuticals Inc.”).2 The FTC nevertheless asserts in conclusory

fashion that Endo International “own[s] assets related to oxymorphone ER,” that “[t]hrough Endo

Pharmaceuticals . . . Endo International currently sells distinct opioid medications in the United

States,” and that “[c]orporate officers from Endo International negotiated and approved the

agreement challenged in the complaint, and the president of Endo International ‘made the ultimate

decision whether to enter into the agreement.’” Compl. ¶ 14.

       The FTC’s unsupported allegations are wrong, as demonstrated by the accompanying

declarations of Deanna Voss and Paul Campanelli. See generally Declaration of Deanna Voss

[hereafter “Voss Decl.”]; Declaration of Paul Campanelli [hereafter “Campanelli Decl.”]. Endo

International is not registered to do business in the United States, does not have a headquarters in

the United States, has no employees in the United States, and does not own assets related to

oxymorphone ER.       Voss Decl. ¶¶ 5-6.      Moreover, Endo International does not develop,



2
        The 2017 Contract Settlement Agreement is Exhibit B to Endo Pharmaceuticals’ Motion
to Dismiss for Failure to State a Claim, Dkt. 51-3, incorporated herein by reference. The Court
can consider “documents upon which the plaintiff’s complaint necessarily relies even if the
document is produced not by the plaintiff in the complaint but by the defendant in a motion to
dismiss.” Maib v. FDIC, 771 F. Supp. 2d 14, 17 (D.D.C. 2011) (internal quotation marks and
citations omitted).

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manufacture, distribute, sell, market, or launch opioid medications—or any other product—in the

United States. Voss Decl. ¶ 4. Those activities are conducted by one of its indirectly held

subsidiary operating companies. Voss Decl. ¶ 7.

       More specific to the Complaint, the parties to the 2017 Contract Settlement Agreement

were Endo Pharmaceuticals and Impax; Endo International had nothing to do with it. See 2017

Contract Settlement Agreement, ENDO 2019 OPANA CID 00010309, at -309. Nor was Endo

International a party to the lawsuit settled by that agreement or an owner of any of the relevant

patents. See id.; Complaint, Endo Pharm. Inc. v. Impax Labs., Inc., No. 16-2526, Dkt. No. 1,

¶¶ 31-36 (D.N.J. May 4, 2016). The involvement of Paul Campanelli, the former President and

CEO of Endo Pharmaceuticals, in the negotiation, approval, and signing of the 2017 Contract

Settlement Agreement was exclusively in his capacity as President and CEO of Endo

Pharmaceuticals—not as an officer of Endo International. Campanelli Decl. ¶ 4.

       Endo Pharmaceuticals is an indirect operating subsidiary of Endo International and

constitutes a distinct legal entity. Voss Decl. ¶ 7. Endo Pharmaceuticals maintains a corporate

structure and operations distinct from those of Endo International. Voss Decl. ¶ 7. Endo

Pharmaceuticals has carried out activities relating to the regulatory approval, development,

manufacture, distribution, sales, launch, and marketing of prescription medications in the United

States, with its own corporate officers, board of directors and management structure. Voss Decl.

¶ 7. By contrast, Endo International’s officers do not have direct control over such day-to-day

operational decisions. Voss Decl. ¶ 8.




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                                           ARGUMENT

I.     The Complaint should be dismissed under Rule 12(b)(2) because this Court lacks
       personal jurisdiction over Endo International.

       To survive a motion to dismiss for lack of personal jurisdiction, a plaintiff is required to

make a “prima facie showing” that jurisdiction exists. Livnat v. Palestinian Auth., 851 F.3d 45,

56–57 (D.C. Cir. 2017). “Conclusory statements or a bare allegation of conspiracy or agency do

not satisfy this burden.” Id. (internal quotation marks omitted). “The Court need not accept the

plaintiff’s allegations as true and may receive and weigh affidavits and other relevant matter[s] to

assist in determining the jurisdictional facts.” Bigelow v. Garrett, 299 F. Supp. 3d 34, 41 (D.D.C.

2018) (internal quotation marks omitted). The Court “is not required to accept inferences

unsupported by the facts.” Sapieyevski v. Live Nation Worldwide, Inc., No. 18-CV-830, 2020 WL

4432119, at *1 (D.D.C. July 31, 2020).

       To establish personal jurisdiction over a nonresident defendant such as Endo International,

due process requires that “the defendant must ‘have certain minimum contacts with [the forum]

such that the maintenance of the suit does not offend traditional notions of fair play and substantial

justice.’” Livnat, 851 F.3d 45 at 48 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316

(1945)).3 The Supreme Court has recognized two theories under which a court may exercise

“contact-based” personal jurisdiction over a defendant. Erwin-Simpson v. AirAsia Berhad, 985

F.3d 883, 888 (D.C. Cir. 2021). “The first, specific jurisdiction, ‘depends on an affiliatio[n]

between the forum and the underlying controversy’ . . . .” Id. (quoting Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). The second, general jurisdiction, “permits



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        Foreign entities such as Endo International “are entitled to due process protection, despite
the fact they have no meaningful connection to the United States.” GSS Grp. Ltd v. Nat’l Port
Auth., 680 F.3d 805, 817 (D.C. Cir. 2012).

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a court to assert jurisdiction over a defendant based on a forum connection unrelated to the

underlying suit.” Id. at 889 (internal quotation marks omitted).

       Here, the FTC cannot meet its burden of establishing that this Court can exercise personal

jurisdiction over Endo International under either theory. Even if the FTC could establish the

requisite minimum contacts, which it cannot, the exercise of jurisdiction over Endo International

would fail to comply with notions of fair play and substantial justice. See Mwani v. bin Laden,

417 F.3d 1, 14 (D.C. Cir. 2005) (“[E]ven after it has been decided that a defendant purposefully

established minimum contacts within the forum . . . , these contacts may be considered in light of

other factors to determine whether the assertion of personal jurisdiction would comport with fair

play and substantial justice.” (internal quotation marks omitted)).

       A.      The FTC fails to plead facts giving rise to specific jurisdiction over Endo
               International.

       To establish specific jurisdiction over a nonresident defendant, “the defendant’s suit-

related conduct must create a substantial connection with the forum . . . .” Walden v. Fiore, 571

U.S. 277, 284 (2014). This analysis focuses on “the relationship among the defendant, the forum,

and the litigation,” and the relationship must arise out of or relate to contacts that the “defendant

himself” creates with the forum. Id. “In the sphere of specific jurisdiction, the phrase ‘relate to’

incorporates real limits, as it must to adequately protect defendants foreign to a forum.” Ford

Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1026 (2021). The U.S. Supreme

Court has clarified that general contacts are insufficient—specific jurisdiction is appropriate only

where there is a direct “affiliation between the forum and the underlying controversy, principally,

[an] activity or an occurrence that takes place in the forum State.” Bristol-Myers Squibb Co. v.

Super. Ct. of Cal., San Francisco Cty., 137 S. Ct. 1773, 1781 (2017) (quoting Goodyear, 564 U.S.




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at 919). “When there is no such connection, specific jurisdiction is lacking regardless of the extent

of a defendant’s unconnected activities” in the forum. Id.

               1.      Endo International does not have the suit-related contacts with the
                       United States required to exercise specific jurisdiction.

       The Complaint is devoid of factual allegations that Endo International engaged in suit-

related conduct in the United States. Further, the FTC has failed to allege facts sufficient to show

that the alleged conduct of Endo Pharmaceuticals can be imputed to Endo International under an

agency or alter-ego theory of personal jurisdiction.

                       a.       Endo International engaged in no suit-related conduct in the
                                United States.

       What constitutes suit-related conduct is dictated by “the contours of plaintiffs’ claims.”

Cockrum v. Donald J. Trump for President, Inc., 319 F. Supp. 3d 158, 175 (D.D.C. 2018). Here,

the FTC has not, and cannot, allege that Endo International engaged in any conduct within the

contours of the FTC’s claims.

       The FTC’s claims arise out of an allegedly “anticompetitive agreement between Endo and

Impax designed to create and maintain a monopoly for oxymorphone ER.” Compl. ¶ 1. The

agreement at issue is the royalty provision in the 2017 Contract Settlement Agreement that

resolved a breach of contract lawsuit related to oxymorphone ER. Compl. ¶ 3. According to the

Complaint, the “purpose and effect of the 2017 Agreement is to ensure that Endo

[Pharmaceuticals], the gatekeeper to competition in the oxymorphone ER market, has every

incentive to preserve Impax’s monopoly” and “eliminates any potential for oxymorphone ER

competition.” Compl. ¶ 4. Based on the FTC’s allegations, the “contours” of its claims for

purposes of the specific jurisdiction analysis are limited to (1) the allegedly anticompetitive 2017

Contract Settlement Agreement, and (2) any plans to launch or license a generic version of

oxymorphone ER.

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        As explained above, however, Endo International had nothing to do with either the 2017

Contract Settlement Agreement or any decision regarding whether or not Endo Pharmaceuticals

would launch another version of oxymorphone ER. It is clear from the agreement itself that Endo

Pharmaceuticals, not Endo International, was the party to the 2017 Contract Settlement

Agreement. See 2017 Contract Settlement Agreement, ENDO 2019 OPANA CID 00010309, at -

309, 313, 315. Paul Campanelli, the former President and CEO of Endo Pharmaceuticals, signed

the 2017 Contract Settlement Agreement in his capacity as President and CEO of Endo

Pharmaceuticals, as is clear from the four corners of the agreement. Id. at -315. Even the FTC

recognizes that it was Endo Pharmaceuticals and not Endo International that entered into the

relevant agreement. See Compl. ¶ 12 (“Endo Pharmaceuticals entered into the anticompetitive

agreement challenged in this complaint.”).4

        That Mr. Campanelli also served as President and CEO of Endo International at the time,

does not change the analysis. Mr. Campanelli can act for Endo Pharmaceuticals without also

acting for Endo International. See United States v. Bestfoods, 524 U.S. 51, 69 (1998) (explaining

that it is a “well established principle [of corporate law] that directors and officers holding

positions with a parent and its subsidiary can and do ‘change hats’ to represent the two corporations

separately, despite their common ownership.” (internal quotation marks omitted)); see also

Administrators of Tulane Educ. Fund v. Ipsen Pharma, S.A.S., 770 F. Supp. 2d 24, 28 (D.D.C.

2011) (refusing to exercise personal jurisdiction on the basis that related entities had overlapping

directors because “[a]fter all, it is entirely appropriate for directors of a parent corporation to serve



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       The FTC’s claim, entirely unsupported, that “[c]orporate officers from Endo International
negotiated and approved the agreement . . . and the president of Endo International ‘made the
ultimate decision whether to enter into the agreement . . .’”, Compl. ¶ 14, is squarely contradicted
by both the 2017 Contract Settlement Agreement and Mr. Campanelli’s declaration.

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as directors of its subsidiary, and that fact alone may not serve to expose the parent corporation to

liability for its subsidiary acts.” (internal quotation marks omitted)). That is precisely what

happened here. Mr. Campanelli’s declaration affirms that he was acting only for Endo

Pharmaceuticals in the negotiation, approval, and signing of the 2017 Contract Settlement

Agreement. Campanelli Decl. ¶ 4.

       Moreover, Endo International does not develop, manufacture, distribute, sell, launch, or

market any pharmaceutical product—let alone oxymorphone ER—in the United States. Voss

Decl. ¶ 4. And contrary to the unsupported allegations in the Complaint, Endo International does

not “own assets related to oxymorphone ER.” Compl. ¶ 14; Voss Decl. ¶ 5. Nor does Endo

International have direct day-to-day control over whether Endo Pharmaceuticals would launch or

license pharmaceutical products in the United States. Voss Decl. ¶¶ 4, 8. These operational tasks

and responsibilities are handled exclusively by its U.S. operating companies, including Endo

Pharmaceuticals. Voss Decl. ¶ 7. Clearly, Endo International engaged in no “suit-related conduct”

in the United States.

                        b.     The FTC cannot establish specific jurisdiction over Endo
                               International based on the alleged suit-related conduct of its
                               subsidiary.

       Nor can the FTC establish specific jurisdiction over Endo International based on the

contacts of its indirect subsidiary, Endo Pharmaceuticals. “It is a general principle of corporate

law deeply ingrained in our economic and legal systems that a parent corporation . . . is not liable

for the acts of its subsidiaries.” Bestfoods, 524 U.S. at 61 (internal quotation marks omitted); see

also Atlantigas Corp. v. Nisource, Inc., 290 F. Supp. 2d 34, 48 (D.D.C. 2003) (“Ordinarily, a

defendant corporation’s contacts with a forum may not be attributed to affiliated corporations.”).




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For this reason, courts in this Circuit have repeatedly held that there was no personal jurisdiction

over a parent corporation based on its subsidiary’s contacts with the forum.5

       While the D.C. Circuit has recognized two limited exceptions to the rule that a defendant

subsidiary’s forum contacts may not be attributed to a parent company, neither applies here. See

Khatib v. All. Bankshares Corp., 846 F. Supp. 2d 18, 31 (D.D.C. 2012) (citing El–Fadl v. Centr.

Bank of Jordan, 75 F.3d 668, 675–76 (D.C. Cir. 1996) (abrogated on other grounds)). First, “there

may be times when a court can exercise personal jurisdiction over a principal based on the activities

of an agent” where the activities of the subsidiary must be “of such a character as to amount to

doing business of the parent.” Id. at 32. “This test is satisfied by showing that the subsidiary

performs services that are sufficiently important to the foreign corporation that if it did not have a

representative perform them, the corporation’s own officials would undertake to perform

substantially similar services.” Id. (internal quotation marks omitted).

       Second, contacts of a subsidiary may be attributed to a parent where a subsidiary is nothing

more than the “alter ego” of the parent corporation. See Atlantigas Corp., 290 F. Supp. at 48.

“Courts will impute personal jurisdiction under an alter ego theory in cases where the parent

company so dominated the [subsidiary] corporation as to negate its separate personality.” Mazza,



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        See, e.g., Mazza v. Verizon Washington DC, Inc., 852 F. Supp. 2d 28, 41 (D.D.C. 2012)
(refusing to disregard corporate form and impute contacts of subsidiary to parent holding
corporation when conclusory allegations did not demonstrate that parent exercised “active and
substantial control” over subsidiaries); Khatib v. All. Bankshares Corp., 846 F. Supp. 2d 18, 33
(D.D.C. 2012) (holding that plaintiff had failed to overcome the “presumption that legally distinct
corporate entities are indeed separate” with only “bare allegation[s] of agency” and refusing to
impute subsidiary contacts to parent holding company); Leitner-Wise v. Clark, No. CV 18-771
(BAH), 2018 WL 6787999, at *4–5 (D.D.C. Dec. 26, 2018) (holding that subsidiary’s contacts
with forum were insufficient to impute specific personal jurisdiction to parent company);
Atlantigas Corp., 290 F. Supp. at 48 (rejecting argument that related entity’s contacts were
sufficient to confer jurisdiction when pleadings were devoid of any allegations showing that
corporate defendant “dominated” the related entity).

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852 F. Supp. 2d at 41 (internal quotation marks omitted). This is a “rare exception grounded in

equity considerations, and is only to be applied when, inter alia, an adherence to the fiction of the

separate existence of the corporation would sanction a fraud or promote injustice.” Administrators

of Tulane Educ. Fund, 770 F. Supp. 2d at 28 (internal quotation marks omitted). To satisfy this

standard, “the plaintiff must show that the corporate parent exercises a level of control over its

subsidiary that is above and beyond the level of control that suffices to invoke the ‘agency’

exception.” Khatib, 846 F. Supp. 2d at 32. Notably, shared directors, joint promotion of products,

and a parent providing guidance to a subsidiary are insufficient to show domination and thus

expose a parent corporation to jurisdiction based on the acts of a subsidiary. See Administrators

of Tulane Educ. Fund, 770 F. Supp. 2d at 30.

       Neither of these limited exceptions applies here. With respect to the first exception, the

Complaint fails to plead facts showing that Endo Pharmaceuticals was the “agent” of Endo

International for jurisdictional purposes. By the FTC’s own admission, Endo International is a

holding company. Compl. ¶ 14. It does not develop, manufacture, distribute, sell, launch, or

market any pharmaceutical products in the United States—these tasks are carried out by its

operating company subsidiaries including Endo Pharmaceuticals. Voss Decl. ¶¶ 4, 7. This

relationship—between a holding company and its indirect subsidiary that conducts actual

operations—is insufficient to establish jurisdiction under an agency theory. See Khatib, 846 F.

Supp. 2d at 32 (“Courts are in agreement that, as a general rule, it is generally improper to impute

the contacts of a subsidiary to a corporate parent that is a holding company because ‘the subsidiary

is not performing a function that the parent would otherwise have to perform itself (the holding

company could simply hold another type of subsidiary).”).




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        With respect to the second exception, the Complaint also fails to establish personal

jurisdiction under the more exacting “alter-ego” theory. See Khatib, 846 F. Supp. 2d at 32

(explaining that because plaintiff had “failed to satisfy the lesser standard under the ‘agency’

exception . . . it follows that [plaintiff] has also failed to meet the standard required to invoke the

‘alter ego’ exception.”). There are no factual allegations in the Complaint from which to infer that

Endo International “so dominated” Endo Pharmaceuticals to justify the rare act of disregarding the

corporate form for jurisdictional purposes.            The Voss declaration explains that Endo

Pharmaceuticals is a “legal entity separate and distinct . . . with its own corporate officers, board

of directors, and management.” Voss Decl. ¶ 7.

        The District Court for the District of Columbia’s decision in Administrators of the Tulane

Educational Fund v. Ipsen Pharma, S.A.S., is instructive. 770 F. Supp. 2d 24, 28 (D.D.C. 2011).

That case involved a French pharmaceutical corporation (“Ipsen”) and its subsidiary (“Ipsen

Pharma”) which were sued for correction of inventorship under the U.S. patent laws. Id. at 25–

26. Ipsen moved to dismiss the claim under Rule 12(b)(2) for lack of jurisdiction. Id. at 27.

Plaintiffs claimed that the court had personal jurisdiction over Ipsen on the basis that Ipsen was

the alter-ego of Ipsen Pharma, relying on allegations concerning “(1) the shared officers and

directors between the two companies; (2) that Ipsen’s Operations Committees provide general

guidance to . . . Ipsen Pharma, and (3) that in press releases, Ipsen claims to be the originator of”

the compound covered by the patent at issue. Id. at 30. The court rejected this argument and

explained that “this alone, however, is not enough! After all, it is ‘entirely appropriate for directors

of a parent corporation to serve as directors of its subsidiary, and that fact alone may not serve to

expose the parent corporation to liability for its subsidiary acts.”’ Id. (quoting Diamond Chem.

Co. v. Atofina Chemicals, Inc., 268 F. Supp. 2d 1, 9 (D.D.C. 2003)).             As the court further



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explained, “[n]or is it unusual for a parent corporation to provide guidance to its subsidiaries” and

“joint promotion without more does not mandate the finding that a subsidiary is a mere shell for

its parent.” Id. Finally, because “plaintiffs have also failed to demonstrate that adherence to the

fiction of the separate existence of the corporation would sanction fraud or promote injustice,” it

had failed the second prong of the alter-ego analysis. Id.

       The FTC has not alleged facts that could support either a conclusion that Endo International

dominated the operations of Endo Pharmaceuticals or that it would sanction fraud or promote

injustice to recognize the corporate distinctions between Endo International and Endo

Pharmaceuticals. The FTC’s allegations regarding shared leadership, trade names, logos, and

websites are insufficient. Such allegations fall squarely into the categories of information that

courts in this Circuit have held were insufficient to establish jurisdiction. See id. (explaining that

shared officers and joint promotion were insufficient to confer jurisdiction); see also Sapieyevski,

2020 WL 4432119, at *3 (refusing to exercise specific jurisdiction based on an alter-ego theory

when plaintiff alleged that both entities used the same address, domain, and logo, holding that

“[s]haring an address, marketing image, and [a] management employee does not satisfy

[plaintiff’s] heavy burden.”). The FTC’s allegations are insufficient to justify the “rare exception”

of disregarding the corporate form and exercising jurisdiction over Endo International based on

the contacts of its subsidiary.

       B.      The FTC fails to plead facts giving rise to general jurisdiction over Endo
               International.

       General jurisdiction over a foreign corporation satisfies due process only “when [its]

affiliations with the [forum] are so ‘continuous and systematic’ as to render [it] essentially at home

in the forum State.” Erwin-Simpson, 985 F.3d at 890–91 (quoting Goodyear, 564 U.S. at 919);

see also Alkanani v. Aegis Def. Servs., LLC, 976 F. Supp. 2d 13, 29 (D.D.C. 2014) (finding that a


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foreign corporation’s contacts with the forum must be “so extensive, so constant, and so prevalent”

that they render it “essentially at home” in the forum). For a corporation, the appropriate forums

for exercising general jurisdiction are a corporation’s “place of incorporation and principal place

of business” because both are considered places “in which the corporation is fairly regarded as at

home.” Daimler AG v. Bauman, 571 U.S. 117, 137 (2014).

       Under this standard, Endo International is not “at home” in the United States and therefore

cannot be subject to general jurisdiction here. Endo International is organized under the laws of

Ireland and has its principal place of business in Dublin. Voss Decl. ¶ 3. Endo International is not

registered to do business in the United States, has no agent for service of process in the United

States, and has no employees in the United States. Voss Decl. ¶ 6. For these reasons, any argument

that Endo International is subject to general jurisdiction in the United States can be dispensed with

quickly. See Daimler, 571 U.S. at 139.

       Moreover, this Court cannot exercise personal jurisdiction over Endo International merely

because it has a subsidiary that is headquartered and incorporated in the United States. See

Daimler, 571 U.S. at 136-39 (finding there was no general jurisdiction over foreign corporate

parent that was neither incorporated in nor had its principal place of business in the U.S. forum

despite U.S. subsidiary). “[T]he Supreme Court has emphatically rejected the theory that foreign

corporations can be subject to general jurisdiction whenever they have an in-state subsidiary or

affiliate, calling it an inappropriately ‘sprawling view of general jurisdiction[.]’” Alkanani v. Aegis

Def. Servs., LLC, 976 F. Supp. 2d 13, 34 (D.D.C. 2014); see also supra, Section I.A.1.b.

(explaining that the FTC’s allegations fail to support any form of agency or alter-ego liability on

behalf of Endo International).




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       For the forgoing reasons, Endo International cannot be subject to general jurisdiction in the

United States.

       C.        Exercising personal jurisdiction over Endo International would offend
                 traditional notions of fair play and substantial justice.

       Given the lack of sufficient minimum contacts with the United States, the exercise of

personal jurisdiction over Endo International “would offend traditional notions of fair play and

substantial justice.” Asahi Metal Indus. Co. v. Superior Ct. of California, Solano Cty., 480 U.S.

102, 113 (1987) (quoting Int’l Shoe, 326 U.S. at 316) (internal quotation marks omitted). The

determination of the reasonableness of the exercise of jurisdiction depends on several factors,

including “the burden on the defendant, the interests of the forum State, and the plaintiff’s interest

in obtaining relief.” Id. (quoting World-Wide Volkswagen v. Woodson, 444 U.S. 286, 292 (1980)

(explaining that further considerations are “the interstate judicial system’s interest in obtaining the

most efficient resolution of controversies . . . and the shared interest of the several States in

furthering fundamental substantive social policies”)).        There are no “mechanical tests” or

“talismanic formulas,” and instead, the Court “must consider whether [the defendant’s] ‘conduct

and connection with the [forum] are such that [it] should reasonably anticipate being haled into

court there.’” IMark Mktg. Servs., LLC v. Geoplast S.p.A., 753 F. Supp. 2d 141, 156–57 (D.D.C.

2010) (quoting World–Wide Volkswagen Corp., 444 U.S. at 297).

       Endo International is organized under the laws of and domiciled in Ireland and has no

relevant contacts with the United States. See generally Voss Decl. The burden imposed on Endo

International if it remains a party to this lawsuit would therefore be substantial. See, e.g., Asahi,

480 U.S. at 114 (“The unique burdens placed upon one who must defend oneself in a foreign legal

system should have significant weight in assessing the reasonableness of stretching the long arm

of personal jurisdiction over national borders.”). Second, while the United States has a strong


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interest in effective enforcement of the antitrust laws, it has no meaningful interest in enforcement

against a foreign corporation that has no relevant connections to the United States related to this

lawsuit. Finally, Endo International’s presence in or absence from this litigation has no effect on

the FTC’s ability to obtain meaningful relief. Endo Pharmaceuticals—a fully capitalized U.S.

subsidiary that was a party to the agreement at issue in this case and was responsible for any plans

to launch or license a generic version of oxymorphone ER—is already a named defendant.

II.     In the alternative, the Complaint should be dismissed under Rule 12(b)(6) for
        failure to state a claim upon which relief can be granted.

        In the alternative, the Complaint should be dismissed for failure to state a claim against

Endo International because the FTC has pleaded no facts supporting a plausible inference that

Endo International had any involvement in the 2017 Contract Settlement Agreement. In addition,

the Complaint does not allege sufficient facts to pierce the corporate veil and impute potential

liability for Endo Pharmaceuticals to Endo International. Finally, as discussed in Endo

Pharmaceuticals’ Motion to Dismiss, the FTC’s allegations in this case are insufficient, as a matter

of law, to state a claim for an antitrust violation.

        First, to state a claim against each defendant, the FTC must plead facts plausibly “alleging

that each defendant participated in or agreed to join” the agreement in restraint of trade. Jung v.

Ass’n of Am. Med. Colleges, 300 F. Supp. 2d 119, 163 (D.D.C. 2004) (granting motion to dismiss

for failure to state a claim in Section 1 case when allegations that individual defendant participated

in conspiracy were “vague, conclusory, and simply insufficient” to meet plaintiffs’ pleading

burden); see also In re Domestic Airline Travel Antitrust Litig., 221 F. Supp. 3d 46, 72 (D.D.C.

2016) (explaining that plaintiff bears the burden of “alleging that each defendant participated in or

agreed to join the conspiracy and played some role in it.” (quoting Jung, 300 F. Supp. 2d at 163)).




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        The only allegation in the Complaint that attempts to tie Endo International to the allegedly

anticompetitive agreement is the FTC’s conclusory allegation that “[c]orporate officers from Endo

International negotiated and approved the agreement challenged in the complaint, and the president

of Endo International ‘made the ultimate decision whether to enter into the agreement.’” Compl.

¶ 14. Importantly, however, the FTC does not allege that those unidentified officers negotiated and

approved the 2017 Contract Settlement Agreement in their capacity as officers of Endo

International. Nor could it. Endo International had nothing to do with the 2017 Contract

Settlement Agreement. See supra Section I.A.1.a. The 2017 Contract Settlement Agreement is

clear—Paul Campanelli signed the 2017 Contract Settlement Agreement in his capacity as

President and CEO of Endo Pharmaceuticals. 2017 Contract Settlement Agreement, ENDO 2019

OPANA CID 00010309, at -315. And, as explained above, Mr. Campanelli’s declaration affirms

that he was acting only for Endo Pharmaceuticals. Campanelli Decl. ¶ 4.

        Second, the Complaint fails to plead facts capable of supporting a conclusion that Endo

International should be held liable for the acts of its subsidiary. “It is a general principle of

corporate law deeply ingrained in our economic and legal systems that a parent corporation . . . is

not liable for the acts of its subsidiaries.” Bestfoods, 524 U.S. at 61. “Veil-piercing is an

extraordinary procedure that courts should not use lightly, and only extreme circumstances call for

disregard of corporate form.” Toumazou v. Turkish Republic of N. Cyprus, 71 F. Supp. 3d 7, 19

(D.D.C. 2014) (quoting Schattner v. Girard, 668 F.2d 1366, 1370 (D.C. Cir. 1981)). “The D.C.

Circuit . . . has found piercing the veil to be justified when ‘the corporation, rather than being a

distinct, responsible entity, is in fact the alter ego or business conduit of the person [or corporation]

in control.’” Id. (quoting Labadie Coal Co. v. Black, 672 F.2d 92, 97 (D.C. Cir. 1982)).




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       For similar reasons as those discussed in Section I.A.1.b, supra, the FTC’s allegations fail

to support any application of agency or alter-ego liability on behalf of Endo International. Endo

International is a distinct legal entity that maintains a corporate structure and operations that are

entirely separate from Endo Pharmaceuticals. See Voss Decl. ¶ 7. Further, despite the fact that

Endo International and Endo Pharmaceuticals share certain officers, these officers, in their distinct

role with Endo International, exercise no direct day-to-day control over subsidiary operations.6

Voss Decl. ¶ 8. The FTC does not allege any facts that could support a conclusion that Endo

International so dominated the operations of Endo Pharmaceuticals that the “extraordinary

procedure” of veil piercing would be necessary to avoid the sanctioning of fraud or the promotion

of injustice. There is no basis to hold Endo International liable for the acts of its subsidiary.

       Third, the FTC’s theory of antitrust liability fails as a matter of law for all the reasons

explained in Endo Pharmaceuticals’ Motion to Dismiss. Accordingly, the Complaint should be

dismissed for the independent reason that it fails to state a claim pursuant to Rule 12(b)(6).

                                          CONCLUSION

       For the reasons set forth herein, Endo International respectfully requests that the Court

grant its Motion to Dismiss and dismiss all claims in the Complaint as to Endo International for

lack of personal jurisdiction and failure to state a claim upon which relief can be granted.




6
         The fact that Endo International has officers that also serve as officers of Endo
Pharmaceuticals is immaterial. See Diamond Chem. Co., 268 F. Supp. 2d at 9 (“The Supreme
Court has recognized that ‘it is entirely appropriate for directors of a parent corporation to serve
as directors of its subsidiary, and that fact alone may not serve to expose the parent corporation to
liability for its subsidiary acts.’” (quoting Bestfoods, 524 U.S. at 69)).

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Dated: April 26, 2021                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on April 26, 2021, I filed the foregoing memorandum of points and authorities

and all attachments with the Clerk of the Court via the CM/ECF system, which will automatically

send electronic mail notification of such filing to the CM/ECF registered participants as identified

on the Notice of Electronic Filing.

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